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             Case 1:18-cv-09352-SN Document 100-8 Filed 10/26/20 Page 2 of 12

   From:          Peter Mikkelsen peter@blocktech.com
 Subject:         NDAs &contracts for Lilit and Kristine
    Date:         April 15, 2019 at 2:04 PM America/Los_Angeles
     To:          Nick Spanos ~~~ck@blocktect,.con,, ErIC Dixon ~:ric~I:~locktech.com

Dear Nick and Eric
Please find the contracts and NDAs for our two new technical interns attached.

AEI the best

Peter G. Miklcelsen
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 lil~~ck.:hain "I~cchnalo~ie,('urp.


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                                          Service Agreement
.•~~                Case 1:18-cv-09352-SN Document 100-8 Filed 10/26/20 Page 3 of 12
                                                                                       floor 6300,
                                               Foundation" Baarerstrasse 1416, 2nd
       Yerevan March 1st, 2019 uSynapse                                                              according the Statute of the
                                    Client /, repre senta tive director Nick Spanos, who is acting
       Zug Switzerlan d /here after                                                                05616, issued in 03.01.2019 by
                         hand , and  Citiz en of RA   Licit Otaryan /hereafter Provider/ /ID: AR04                        service
       Company,  in one                                                                 ther named Parties/, formed this
             addre ss: Yerev  an, Arsha  kunya  ts 54/3, ap. 11, in other hand /toge
       Q061,
                                            according to the Civil Law of RA.
       agreement /hereafter Agreement/
                                                   1. GENERAL CONDITIONS
                                                                                               obligations of the Parties and
                                                        between the Parties, states rights and
       1.1. This agreement regulates work relationships
                                                                                                                        tions
       their responsibilities.                                                    ement with respect of terms and condi
                                         obliged to do work designed in this Agre
       1.2. With this Agreement Provider
                                            ed to pay Provider for this work.
       Beaded by Client and Client is oblig
                                                     2.SUBJECT of AGREEMENT
                                                   of a Technical intern
       2.1. C1+ent hires Provider for the services
       2.2. The main tasks for the Provider are:
                                                      any technical tasks demanded.
       - Worfc with the technical team and perform                                                  t contract oracles.
                                                               used in the company to produce smar
       - To team and master the programming languages
                                                               for work prepared.
       - To presets excellent viorlc ethic and help show up                                             appointed manager of the
       - To do any command, order       or decis ion relat ed to the function of the provider from the
                                                                                                       directly subordinate to the
                                                                  tor of business Development and
       D+rector, in this pse Peter Gelardi Mikkelsen, Direc
       orders of the manager.

       23. The place of the work is the one sited by the Client.
                                                                                 IES
                                            3.RIGHTS and OBLIGATIONS of the PART
       3.1. The Client had a right to:
                                                                     s on time and in right manner.
       3.1.1. to request from the Provider to do her work obligation
                                                                  ines, order and give tasks to be done.
       3.i.2. to define main conditions of Provider's work, deadl                                        Legislation of RA and
                                                                ned by current Agreement according the
       3.1.3. Request from the Provider to do tasks not desig
       other Laves.                                                                                       and (or) labor conditions,
                                                        mes and (or) economic and (or) technological
       3.1.4. In the case of change of production volu
       to modify the essential conditions of work.                                                         if she caused Material
                                                   to subject the Provider to material responsibility,
       3.1.5. In the manner prescribed by law,
       Damage to the Client                                                                             s and current Agreement.
                                                 ned by the Civil Law, the Client's internal regulation
       3.1.6. To carry out any other right desig

        3.2. Client obliged to:                                                                       work, ensure safe and
                                               tasks provided by the Agreement and to organize its
        32.1. Provide the Provider with the
        healtfiy working conditions.                                                               nt    ement.
                                             n the time and under the terms stipulated by the curre Agre
        32.2. Pay the Providers salary withi

        3.3. Provider has a right to:                                                        in the prescribed amount provided by
                                             the work performed within the timeframe and
        3.3.1. receive a remuneration for
        the Agreement,                                                                                   t       ant documents and
                                               nations on the issues related to her activities, submi relev
        3.32. obtain information and expla
        materials to the Client,                                                                       ts internal regulations, other
                                                 and conditions provided by the Agreement, Clien
        3,3.3. viithout prejudice to the teRns
                                                    in other company,
         1~gal acts adopted by the Client, to v~ork
                                                   the organization of his work,
        3.3.4, submit proposals to the Client on                                                                   ed to her work.
                                                      individual legal acts of the Client which are directly relat
         3.3.5. get acquainted viith the internal and

         3.4. Pra+ider obliged to:                                                                                            arising from
                                                             under the Agreement, as well as the Clients instructions
         3.4.1, faRhfully fulfil! the obligations undertaken                                            indiv idual legal  acts,
                                                               linary rules and / or other internal and
         the Agreement and / or the Clients internal discip                                                                 me violations,
         3.4.2, maintain the Clients internal discip    linary rules, work discipline and do not allow working regi
                                                                                                    as Provi ders  ethic s rules ,
                                                                and safety requirements, as well
         perform vrorking norms, maintain labor protection
             Case 1:18-cv-09352-SN Service Agreement
                                    Document   100-8 Filed 10/26/20 Page 4 of 12
                                                                                                                possible a
3.4.3. respect the property of the Client and other workers, as well as immediately inform the Client about
dangers of the Clients property protection, the life and health of the workers,
                                                                                                           she will face a
3.4.4. ensure the protection of any confidential information she is aware due to her work, otherwise
penalty.
                                                                                                            only with the
3.4.5. execute its duties personally and to instruct the other person in labor relations with the Client
permission of the Client,
                                                                                               affiliated with her,
3.4.6. incase of temporary disability, inform the Cllent on the same day personally or person
                                                                        and other obligations prescribed   by the current
3.4.7. execute the law, other legal t~cls, Internpl dlsclplinary rules
Agreement.

                                           4. DURATION OF AGREEMENT
4.1. 1'he Agrc3omont enters into force on March 1st 2019 and operates 6 months.
4.2. The Agreement can    be  terminated  any time with 21 days notice if there is a no need for services with forming
fna1 ~a on the services done.

                                               5. SALARY CONDITIONS
5.1, TT~e internship is unpaid

                                         6. RESPONSIBILITY of the PARTIES
                                                                                                               the general
6.1. The Parties bear responsibility for non-fulfillment or improper fulfillment of their obligations under
 procedure defined by the Swiss legislation.
                                                                                                                       her
6.2. In case of inflicting material damage to the Client as a result of non-performance or improper performance of
jab duties, the Provider shall be subject to disciplinary, material and other liability  in the manner   prescribed by the
cu~ent legislation of the country of Switzerland. Material liability arises when the Provider fails or improperly performs
her obligations.
6.3. Payment of penalty does not relieve the Parties from the fulfillment of their obligations under the Agreement.

                                              7. DISPUTE RESOLUTION
              of
7.1. In case a dispute between     the parties, it shall be subject to resolution through direct negotiations between the
Client and the Provider.
7.2. If the dispute between the parties is not settled, it shall be subject to judicial review in the manner prescribed by
the Swiss legislation.

                                                  8. FORCE-MAJOR
8.1. The PaRies shall be exempt from liability if it was the result of an force-major that arose after the conclusion of
the Agreement and which the Parties could not anticipate and / or prevent. In the event of a force majeure, the Party
whose obligation will discharge the force majeure is obliged to inform the other Party immediately.

                                      9. Nondisclosure of Confidential Information:
9.1 The term "Confidential        Information"  means all financial and other nonpublic information, notes, analyses,
compilations, third party    contacts,  clients, investors, studies or other documents provided by the parties to one
another during the      Discussions,   including  any proprietary information concerning their respective businesses,
operations, assets,     trade  secrets,  techniques,  models, data, code, research, processes, procedures, business
strategy,  marketing,   pricing, financial data  and other  such information, whether or not reduced to writing or other
tangible  form and   whether    or not expressly  designated  "Confidential". All such information if disclosed during the
Discussions shall be deemed confidential, unless the disclosing party expressly designates as "Not Confidential".
9.2 Confidential Information shall not include (i) information already and lawfully known prior to being obtained during
the Discussions; (ii) information that can be demonstrated by clear and convincing evidence to have been in the
publ;c domain at the time of disclosure; and (iii) information approved for release by written authorization of an
euthonzed officer of the Disdosing Party.
8.3 Should only a portion of any Confidential Information fall within the scope of Section 1.2, all other Confidential
Information so disclosed shall remain within the scope of Section 1.1 and subject to the prohibitions set forth below.
9,4 Each party will use any Confidential Information it might receive during the Discussions solely to evaluate the
prosped,ve commeraal relationship contemplated between them. Both parties shall hold all such Confidential
 Information in strict confidence, except to the extent permitted by Paragraph 1.6 below. Neither party shall reverse
engineer, disaaaemble or decompile any prototypes, software, or other objects conveyed hereunder. Each party shall
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                                 Case 1:18-cv-09352-SN Document       ent Filed 10/26/20 Page 5 of 12
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,~~~.
~.              .~   use a standard of care and discretion to avoid releasing Confidential Information received during the Discussions not
                     less than that which it accords iYs own propriety and/or trade secret information,
;~
                     9.3 Confidential Information may be disclosed internally by either party as may be necessary for the sole purpose ~f
         ;E'         evaluating and negotiating the commercial relationship and/or transactions contemplated by the Discussions.
                                                                                                                                               a~ilates,
        r'~~~
        `            Disclosure may also be permitted for that purpose to efther party's accountants, attorneys, consultants,
                                                                                                                    of the   informati on's confident ial
                     directors and officers, on a need to know basis. All such persons shall be informed
                     nature, and required to maintain it in accordance with this aflreement.
                                                                                                                                 disclose Confidential
'~,'~                9.6 Should either party be legally required (i,e, by subpoena or other legal process) to
                                                                                                      so  that the  disclosin  g party may: (i) seek e
                      Information imparted to it, that party shall promptly notify the other party
                                                                                                                            nt es to the Confidential
                      protective order or other ~pproprlate remedy; or (ii) waive compliance with this Agreeme
                                                                                                                    is still in the written opinion its
                      Information sought to be revealed. Absent a protective order, If the receiving party
                                                                                                                  the other party; (ii) furnish only so
                      counsel legally required to disclose Confidential Information, it shall; (i) again notify
                                                                                                           efforts to obtain reliable assurance that
                      much of the Confidential Information as is legally required. and (iii) use best
                                                                                                         risk citation for contempt or other judicial
                      the Confidential Information will be treated confidentially. Neither party must
                                                                                                         intervene.
                      penalty in any such situation if the disclosing party fails or is unable to timely
                                                                                             conclusi  on  of the Discussions, neither party shall
                      9.7 Except as permitted herein, for thirty six (36) months after
                                                                                                             , that Discussion of negotiations are
                      disclose to any person that Confidential Information has been made ava)lable
                                                                                                      or other facts with respect to a potential
                       taking place or have taken place, and/or any of the terms, conditions
                       commeocial relationship between them.
                                                                                                            the property of the disclosing party.
                      9.8 Confidential Information disclosed hereunder shall at all times remain
                                                                                                               all documents or tangible forms of
                       Immediately upon request by either party, both parties shall return or destroy
                                                                                                      transmitted orally shall a remain subject to
                       Confidential Information received hereunder. Any confidential Information
                                                                                                         extracts or other reproductions of any
                       all restrictions set forth herein. The parties shall not retain any copies,
                                                                                                        writings in their possession based on any
                       Confidential Information, and shall destroy all notes, memoranda and other
                       Confidential Information received.
                                                                                                             or completeness of any Confidential
                       9.9 Neither party makes any representation or warranty as to the accuracy
                                                                                                               claim or patent, trademark, and/or
                       Information disclosed hereunder, including but not limited to freedom from any
                       copyright infringement resulting from the use of such information.

                      10. Non-Circumvention
                                                                                                       (4) years following conclusion of the
                      10.1 Commencing with the date of this Agreement and continuing for four
                                                                                                    any kind of business from any existing
                      Discussions (the "Non-circumvention Period"), neither party shall solicit
                                                                                                   with whom that party enjoys a business
                      supplier, client, contact, investor or strategic partner of the other party,
                                                                                                   and its supplier, customer, investor, client
                      relationship, in order to (i) circumvent the relationship between that party
                                                                                                    hip; or (iii) otherwise compete with one
                      and/or contact, (it) cause the revocation or termination of that relations
                      another; without prior written authorization.

                                                                      11. FINAL PROVISIONS
                               a.  When   signing the Agreeme nt,  the Provider is familiar with working conditions, disciplinary rotes of the
                               Client.
                                                                                           be made solely by the Client in writing form. These
                               b. Changes and additions to the current Agreement can
                                                                shall be  enclosed  to the current Agreement and shall constitute its integral
                               a mendments and supplements
                                                              between   the Parties them, the  Worker may terminate her Agreement.
                               part. In case of disagreement
                               c. The issues not stipulate d by the current  Agreeme  nt are being  regulated by the procedure established by
                               the Swiss legislation.
                                                                                      and has precedence over all previous oral and written
                               d. The Agreement express consent of the Parties
                               agreements and contracts.
                                                                                              ns of the Agreement without the prior consent of
                               e. None of the Parties may disclose the terms and conditio
                               the other party, except in cases prescribed by law.
                                                                                                             ed by the Swiss civil law
                               f. The Agreement may be resolved in the cases and in the manner prescrib


                                                      13. REGlUISITES AND SIGNATURES OF THE PARTIES

                      CLIENT
                      «Synapse Foundation"
                      Director Nick 3panos
              Case 1:18-cv-09352-SN Sorvlc4
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Signaturo


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Signature
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                                    The NON -DISCLOSURE, CONFIDENTIALITY and
                                      I NFORMATION PROTECTION AGREEMENT

             This Nondisclosure, Confidentiality and Information
                                                                       Protection Agreement ("Agreement') is
             m ade as of and effective this :1 day of 'n~ u r C h
                                                                                     (J /   by and between, on the
            one hand: Blocktecf~, LLC, a limited liability company formed
                                                                                  under the laws of the State of
            Coic~rado, United States of America, and its subsidiaries, affiliates
                                                                                      and assigns (each, as well as
            c:ultr~ctively for sake of simplicity, a "Disclosing Entity"), on the one
                                                                                      hand, and:

           (ii) the Revenue Committee of the Republic of Armenia including any
                                                                                of its constituent taxation,
           revenue. regulatory and/or enforcement agencies, instrumentalities, offices or
                                                                                          officers, Republic
           of Armenia (collectively, "Recipient"). on the other hand.

            1~VHEREAS. the Recipient and the Disclosing Entity jointly contemplate that Recipient shall
                                                                                                         be
S           engaged and licensed by the Disclosing Entity to implement, utilize, exploit, develop, conceive,
~           market, promote or otherwise commercialize various concepts, data or intellectual property
r           which is owned, controlled or licensed by Disclosing Entity and which constitutes the
            Confidential Information, as defined below; and

           W HEREAS, the parties hereto may enter into a separate working agreement providing for
           Recipient to be either an agent, consultant or employee of or to the Disclosing Entity, but as to
           which no such offer has been made and is presently only contemplated, and in any event, such
           separate working agreement shall be a separate legally enforceable document;


           NOW, THEREFORE, for consideration the receipt of which is hereby acknowledged, the parties
           hereto, hereby agree as follows:


           1. Confidential Information.


          A. The Disclosing Entity proposes to disclose certain of its confidential and proprietary
          information (the "Confidential Information," as defined below) to Recipient in the course of the
          commercial working relationship between the Recipient and the Disclosing Entity.

          B. "Confidential Information" shall include all: data, materials, products, technology, computer
          programs, machines, manufacturing or assembling systems, compositions of matter of any type,
          designs, schematic renderings, techniques, specifications, patents, trademarks, service marks,
          trade names, trade secrets, mask works, ideas, concepts, any applications, work papers or
          Vihite papers received, granted, awarded, licensed or made in connection with or preparation for
          any application for patents, trademarks, tradenames or service names or trade secrets or in
          contemplation of litigation regarding same, manuals, business plans and strategies, software,
          computer codes, source codes, object codes, computer protocols, software protocols,
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                                                                                         •.    i
                                                             R ecipient Signature
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         2. Recipients
                                 Covenants, Representations, Duties and
                                                                        Obligations.
         A. Recipient agree
                              s that the Confidential Information
         h ighly confidential                                        is to be considered strictly confidential,
                              and proprietary to the Disclosing Entity,
         u nauthorized use,                                                 Recipient acknowledges that the
                              disclosure or exploitation of the confidential
         irreparable and                                                        information could cause
                           substantial harm to the Disclosing Entity. The
         be labeled or printed                                                 Confidential Information need not
                                 as confidential for these confidentiality obliga
         assumed. Recipient                                                        tions to arise and be
                                shall hold the same in strict confidence, shall
         I nformation other than                                                   not use the Confidential
                                  for the purposes of its or his business with the
         the confines of                                                               Disclosing Entity or within
                          aprincipal-agent, independent contractor or employer-empl
         and shall disclose it only                                                          oyee relationship,
                                     to such other parties who have a specific need to know
         written notice to and prior                                                               and upon prior
                                      written approval of the Disclosing Entity. Recipient will not disclo
         publish, broadcast, expose,                                                                         se,
                                         disseminate, reveal or otherwise leave vulnerable or susceptible
         misappropriation, any of the                                                                           to
                                         Confidential Information received from the Disclosing Entity to any
         other party whatsoever excep
                                          t with the specific prior written authorization of the Disclosing
         Entity.

         B. Recipient represents and warran
                                               ts to the Disclosing Entity that he is receiving the
         Confidential Information on his / its own
                                                     behalf and not as an agent for or on behalf of any third
         party private or quasi private entity or corporation
                                                               or government agency or entity (except in this
         case, the agencies, entities or other affiliates of Recipi
                                                                    ent). Recipient further represents and
         warrants that he/she is capable and authorized to execut
                                                                       e, deliver and perform the obligations
         set forth under this Agreement, and is not subject to any restriction, injunct
                                                                                         ion, contractual
         obligation or other encumbrance preventing, limiting or imposing condit
                                                                                      ions upon his or its
         execution, delivery and performance hereof.

         C. Confidential Information shared, accessed or furnished in written, tangible or any other
          medium or form shall not be duplicated by Recipient except for the purposes of this Agree
                                                                                                       ment,
          Upon the request of the Disclosing Entity, Recipient shall return all Confidential Information
         received in written or tangible form, including copies, or reproductions or other media containing
         such Confidential Information, within ten (10) days of such request. At Recipients option, any
         documents or other media developed by the Recipient containing Confidential Information may
         be destroyed by Recipient. Recipient shall provide a written certificate to the Disclosing Entity
         identifying the Confidential Information destroyed, the time, date, place and manner of
         destruction and the description of the post-destruction products (e.g., proprietary report in
         printed form of paper binder, shredded fully at the date, time and place described herein) within
         ten (10) days thereafter.

         D. Confidential Information shall be disclosed to Recipient in the course of the commercial or
         working relationship between the Recipient and the Disclosing Entity, or a contemplated
         relationship, as to which the terms of any such relationship shall be set forth in a separate
         agreement, and Recipient represents that he /she / it is receiving access to the Confidential
         Information only pursuant to or in furtherance of or in contemplation of such relationship.


                                                              Recipient Signature
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   E. Furthermore, the matters
                                    worked on by Recipient for or on behalf of
   any items produced, created,                                                    the Disclosing Entity and
                                     conceived or developed during such work, including data,
    m aterials, products, technology,
                                         rortipt~t~~ p~gg~~nis, machines, manufacturing or
   systems, contpgsitions pf rt~attQr                                                         assembling
                                         cif any tyF~e, designs, schematic renderings, techniques,
   sp~cifcation~, ~~~t~nts, tr~dc~marks,
                                              service marks, trade names, trade secrets, mask works,
   ides, rp►lcepts, any
                            a~p~ications, work papers or white papers received, granted, awarded,
   i►c~rtsed or mat~Q in connection with
                                              or preparation for any application for patents, trademarks,
    t►'t~~Rnan~es ar service names or trade
                                                 secrets ar in contemplation of litigation regarding same,
   manu~ts, business plans and
                                      strategies, software, computer codes, source codes, object codes,
   computer protocols, software protocols,
                                                  processes, formulae, calculations, algorithms,
   mathematical equations or concepts, cryptographic systems, systems, findings, conclusions,
    theor+es, improvements, discoveries, analyses, developments, methods, creations, derivations:
   materials, byproducts, concepts, products, or service manuals or practices, original works of
    authorship or creation or made by Recipient whether solely or with others in the course of
    R ecipient's relationship with the Disclosing Entity, are "works made for hire" (as defined under
     the United States Copyright Act) and as such, are the exclusive property of the Disclosing
     Entity. Recipient disclaims, surrenders and releases any and all personal interest therein, and
     d+sclaims all ownership title, right or interest in any of the works made for hire, and conveys,
     transfers and assigns to the Disclosing Entity ai! of Recipient's worldwide rights, title and interest
     (+nciudir~g any inte4lectual property or trade secret rights) in said items. Recipient further
     covenants and agrees that Recipient shall execute, deliver and perform under any and all
     instruments, certifications or agreements and take such other acts as necessary, or desirable, to
     document, perfect, deliver and otherwise convey any assignment, transfer or conveyance
      contemplated hereunder, or to enable the Disclosing Entity to secure, assert, perfect, extend or
     maintain the full force and effect of any of its rights, including any intellectual property rights
      (patEnk, trademark, copyright) or trade secret rights in any matter which is included in the
   definition of Confidential Information.

    3. Term. The obligations of Recipient herein shall be effective during the period of three years
   (the "Non -Disclosure Period") from the later of the date the Disclosing Entity last discloses any
                                                                                            which
   ConFident~ai Information t~ Recipient pursuant to this Agreement, or the last day on
                                                                                            any services
   R ecipient utilizes any Confidential Information of, uses any services of, or performs
                                                                                      shall not be
   far or on behalf of the Disclosing Entity. Further, the obligation not to disclose
                                            assignment, attachment or seizure procedures, whether
   a ffected by bankruptcy. receivership,
                                                            of any agreement between the Disclosing
   an~tiaied toy or against Recipient, nor by the rejEction
                                           Recipient in bankruptcy, or by the Recipient as a
   Er~Uty and Recipient, by a trustee of
                                                any of the foregoing under local law.
   debxor-+n-possession or the equivalent of

                                                 Recipient shall have no obligation under this
   4. Clt~er In!armation; Re{ief; Exemptions.
                                                           which is or becomes publicly available
   At~rsr~~ent with respect to Confidential Information
                                                                   received by Recipient without
   ~ntt~out breach of this Agreement by Recipient, is rightfully
                                                                       that Recipient developed
       a~atsac~s of confidentiality. or which Recipient can document
                                                                    however, such Confidential
   rnc3~~endenUy, without breach of this Agreement; provided,

                                                        R ecipient Signature
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                      Case 1:18-cv-09352-SN Document 100-8 Filed 10/26/20 Page 11 of 12
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               Information shall not be disclosed until
                                                        thirty (30) days after written
               given to the Disclosing Entity along                                     notice of intent to disclose ~s
                                                    with the asserted grounds
               verifying its independent developm                                 for disclosure or documentation
                                                  ent.
              5. No License, Nothing contained
                                                  herein shall be construed as granting
              by license or otherwise in any                                             or conferring any rights
                                              Confidential Information. It is understood and
              party solicits any change in the                                                agreed that neither
                                               organization, business practice, service or products of the other
              party, and that the disclosure of
                                                Confidential Information shall not be construed as evidencing
              any intent by a party to purchase any
                                                      products or services of the other party nor as an
              encouragement to expend funds in
                                                   development or research efforts. Recipient strictly agrees
              not to use any Confidential
                                          Information as a basis upon which to develop or have a third party
              develop a competing or similar
                                               product or service within the industries in which the Disclosing
              Entity operates or engages in commerc
                                                       e.

              6. No Publicity. Recipient agrees not to disclose
                                                                his, her or its participation in this undertaking,
              the existence of this Agreement or any of its terms and conditions, or the fact that discussions
              regarding any subject are being held with the Disclosing Entity on any matter, except as
              required by law or court order and in any event, with prior written notice to the Disclosing Entity
              unless impractical or impossible, in which event such notice shall be made as soon as possible.

              7. Damages, Governing Law and Equitable Relief. This Agreement shall be governed and
              construed in accordance with the laws of the United States and the State of New York and
              Recipient consents to the exclusive jurisdiction of the state courts and U.S. federal courts
              located there for any dispute arising out of this Agreement. Recipient agrees that in the event of
              any breach or threatened breach by Recipient, the Disclosing Entity may obtain, in addition to
              any other legal remedies which may be available, such equitable relief as may be necessary to
              protect the Disclosing Entity against any such breach or threatened breach.

              8. Final Agreement; No Assignment. This Agreement terminates and supersedes all prior
              u nderstandings or agreements on the subject matter hereof. This Agreement may be modified
              only by a further writing that is duly executed by both parties. Recipient may not assign this
              Agreement or any interest herein without the Disclosing Entity's express prior written consent.

              9. Representation of Authority. Recipient covenants, agrees, acknowledges, represents and
              warrants that its authorized signatory is duly authorized to execute, deliver and perform all
              obligations and undertake all representations and warranties under this Agreement.

              10. Severability. If any term of this Agreement is held by a court of competent jurisdiction to be
              invalid or unenforceable, then this Agreement, including all of the remaining terms, will remain in
              full force and effect as if such invalid or unenforceable term had never been included.



                                                                                                        `—       __

                                                                   Recipient Signature
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   1 1. Notices. Any notice
                             required by this Agreement or given in connection with it, shall be in
  w riting and shall be
                        given to the apF~ropriate party by personal delivery or by certified mail,
 postage prepaid (United
                              States mail) or anationally-recognized overnight delivery service.
 If to the Disclosing Entity,
                                notice goes to Blocktech LLC, 157 Prince Street, New York NY 10019
 U NITED STATES. if to
                             Recipient, notice goes to the address stated in clause (ii) of the
 i ntroductory preamble to this
                                   Agreement. Recipient agrees, acknowledges and promises to
 pro mptly (within five days) notify all parties hereto of any change in his, her or its mailing
 addresses) for purposes of notice under this Agreement, and further agrees and acknowledges
 that his!herlits failure to provide such timely written notice shall be a defense to the notice
 requirements of this Agreement.

 1 2. No Implied Waiver. Either party's failure to insist in any one or mare instances upon strict
 performance by the other party of any of the teens of this Agreement shall not be construed as
 a waiver of any continuing or subsequent failure to perform or delay in performance of any term
 hereof.

                                                                                            not
 1 3. Headings. Headings used in this Agreement are provided for convenience only and shall
 be used to construe meaning or intent.

                                                                                   above
I N WITNESS WHEREOF, the parties have executed this Agreement as of the date first
written.

Blocktech, LLC



BY'---
Nikolaos Spanos, Managing Member                    Date: __    _ __ __

                                                       page)
R ecipient (signing here and at the foot of each prior



  Li~i f (~~fIYN(tI1 ---
Print Name:
Address: ~/ S/1u ~(un ~ u ~ s   s ~1/ 3   u/'f 1 J Date:_      ~ ~. U 3 . ~(~/ ~




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                                                    Recipient Signature
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